              Case 2:18-cv-00490-JAM-KJN Document 46 Filed 04/02/18 Page 1 of 4


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17                                      UNITED STATES DISTRICT COURT
18                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
19
      UNITED STATES OF AMERICA,
20                                                    NO. 2:18–CV–00490-JAM-KJN
                                Plaintiff,
21               v.                                   PLAINTIFF’S NOTICE OF FILING
                                                      CORRECTED DECLARATIONS
22    STATE OF CALIFORNIA, et al.,
23                              Defendants.               Judge: Hon. John A. Mendez

24
               The United States of America hereby respectfully submits this Notice of Filing of
25
     Corrected Declarations in order to correct certain discrete factual information in two of the
26
     declarations the United States submitted in support of its Motion for Preliminary Injunction, ECF
27
     No. 2.
28


     Plaintiff’s Notice of Filing
     Corrected Declarations                           1
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 1             Attached hereto are the amended declarations of Thomas D. Homan, Deputy Director and
 2   Senior Official Performing the Duties of the Director, U.S. Immigration and Customs
 3   Enforcement, and Todd Hoffman, Executive Director, Admissibility and Passenger Programs,
 4   Office of Field Operations, U.S. Customs and Border Protection, correcting the previously
 5   submitted declarations, as well as a supplemental declaration from each official explaining the
 6   corrections that were made. See Exhibits A-D, attached hereto.
 7             The corrections to the Homan declaration are to paragraphs 19, 44, and 78. Paragraph 19
 8   incorrectly referred to the number of aliens booked-in to ICE detention facilities in California,
 9   instead of the number of aliens apprehended in California. Paragraph 44 clarifies one sentence to
10   make plain that a detainer was issued against an alien after his arrest, but prior to his later
11   conviction, for felony child cruelty, among other offenses. The alien was released without notice
12   after that conviction. It also corrects a typographical error to a date. Paragraph 78 has been
13   corrected to reflect that the alien in that paragraph, who was charged with multiple counts of child
14   abuse, while initially denied parole, was later paroled into the United States after the local
15   California law enforcement agency provided assurances, in apparent conflict with SB 54, to notify
16   ICE should the alien post bail, be acquitted, or if probable cause were not found. See Declaration
17   of Thomas D. Homan, attached hereto as Exhibit A.
18             The corrections to the Hoffman declaration are to paragraphs 8 and 15. In paragraph 8, a
19   typographical error mistakenly indicated that Los Angeles International Airport is the third largest
20   airport in the county by international passengers loaded when it is the second. In paragraph 15, it
21   indicated that CBP was unable to take custody of two aliens who are the subject of that paragraph.
22   However, due to an anonymous telephone tip of the release date, CBP was able to apprehend
23   those two aliens in the jail parking lot. See Declaration of Todd Hoffman, attached hereto as
24   Exhibit C.
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     Plaintiff’s Notice of Filing
     Corrected Declarations                            2
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     DATED: April 2, 2018                         Respectfully submitted,
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     Plaintiff’s Notice of Filing
     Corrected Declarations                   3
              Case 2:18-cv-00490-JAM-KJN Document 46 Filed 04/02/18 Page 4 of 4


                                        CERTIFICATE OF SERVICE
 1
 2             I hereby certify that on April 2, 2018, I electronically transmitted the foregoing document

 3   to the Clerk’s Office using the U.S. District Court for the Eastern District of California’s
 4
     Electronic Document Filing System (ECF), which will serve a copy of this document upon all
 5
     counsel of record.
 6
 7                                                  By: /s/ Lauren C. Bingham
 8                                                      LAUREN C. BINGHAM
                                                        Trial Attorney
 9                                                      United States Department of Justice
                                                        Civil Division
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11                                                       Attorney for the United States

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     Plaintiff’s Notice of Filing
     Corrected Declarations                             4
